Case 10-93904-BHL-11 Doc 1678-2 Filed 12/21/12 EOD 12/21/12 11:49:57 Pgilof2

Exhibit B
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New Albany. (6 47450

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